

People v Jackson (2024 NY Slip Op 06527)





People v Jackson


2024 NY Slip Op 06527


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024

PRESENT: WHALEN, P.J., SMITH, CURRAN, BANNISTER, AND DELCONTE, JJ. (Filed Dec. 20, 2024.) 


MOTION NO. (1244/19) KA 17-02058.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vLATIEF JACKSON, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








